              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LAMARR PIRKLE, THEODORE                       No. 4:20-CV-02088
DANNERTH, LAUREN DANKS, and
CASEY FLYNN,                                  (Judge Brann)

             Plaintiffs,

       v.

GOVERNOR THOMAS W. WOLF, in
his official capacity, and KATHRYN
BOOCKVAR, Secretary of the
Commonwealth of Pennsylvania, in her
official capacity,

             Defendants.

                                   ORDER

      AND NOW, this 16th day of November 2020, in light of the Notice of

Dismissal, Doc. 20, IT IS HEREBY ORDERED that this action is dismissed

without prejudice.

                                                BY THE COURT:


                                                s/ Matthew W. Brann
                                                Matthew W. Brann
                                                United States District Judge
